         Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 1 of 13




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                §
In re:                                          §      Chapter 11
                                                §
WATSON GRINDING &                               §      Case No. 20-30967 (MI)
MANUFACTURING CO.                               §
                                                §
                                                §
             Debtor.                            §

                 OFFICIAL COMMITTEE OF JANUARY 24 CLAIMANTS’
                 APPLICATION TO EMPLOY BURNS BOWEN BAIR LLP
                     AS SPECIAL COUNSEL TO THE COMMITTEE

 THIS MOTION SEEKS ENTRY OF AN ORDER THAT MAY ADVERSELY AFFECT YOU.
 IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE
 MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY
 CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE
 MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS
 OF THE DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY
 THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
 RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU.
 IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU
 MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE, THE
 COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
 MOTION AT THE HEARING.
 REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

To the Honorable Marvin Isgur,
United States Bankruptcy Judge:

         The Official Committee of January 24 Claimants (the “Committee”) files this application

(the “Application”) to employ Burns Bowen Bair LLP (“Burns”), as special counsel to the

Committee pursuant to 11 U.S.C. §§ 328(a) and 1103(a), together with the Declaration of

Timothy W. Burns (the “Burns Declaration”), which is attached as Exhibit A of this

Application.




10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 2 of 13




                                     PRELIMINARY STATEMENT

        1.       The Committee respectfully requests that the Court authorize the employment of

Burns as special counsel to the Committee under section 1103(a) of Title 11 of the United States

Code (the “Bankruptcy Code”). The Committee has engaged Burns to advise and represent its

interests in specialized insurance matters that may arise during the pendency of Watson Grinding

& Manufacturing Co.’s (the “Debtor”) bankruptcy case.

                                     JURISDICTION AND VENUE

        2.       This Court has jurisdiction over these cases pursuant to 28 U.S.C. § 1334. This is

a core proceeding under 28 U.S.C. §§ 157(b)(2)(A) and (O).                       The relief requested in the

Application is authorized under sections 328(a) and 1103(a) of the Bankruptcy Code.

        3.       Venue is proper in this district pursuant to 28 U.S.C. § 1408.

                                               BACKGROUND

        4.       On February 6, 2020 (the “Petition Date”), the Debtor commenced a case by

filing a petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”).1

        5.       The Debtor continues to operate its business as a debtor and debtor in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On February 21, 2020, the

United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed the

Official Committee of January 24 Claimants pursuant to sections 1102(a) and 1102 (b)(1) of the

Bankruptcy Code. The Committee consists of the following claimants: (i) Travis Horton, (ii)

Massiel Nunez, (iii) Houston Corvette Service, (iv) Margarita Flores, (v) Phillip Burnam, (vi)

Janette Thomas, and (vii) Gerardo Castorena, Jr. [Docket No. 89].

        6.       To date, no trustee or examiner has been appointed in this Bankruptcy Case.

1
 Watson Valve Services, Inc. (the “Watson Valve”) also filed a voluntary petition for relief under chapter 11 of the
Bankruptcy Code on February 6, 2020.


                                                         2
10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 3 of 13




                                    RELIEF REQUESTED

        7.     By this Application, pursuant to sections 328(a) and 1103(a) of the Bankruptcy

Code, the Committee respectfully requests entry of an order authorizing the Committee to

employ and retain Burns as special counsel to the Committee pursuant to the terms of the

engagement letter, dated March 26, 2020, and attached as Exhibit B of this Application (the

“Engagement Letter”).

        8.     Specifically, the Committee retained Burns to serve as the Committee’s insurance

counsel in the Debtor’s bankruptcy case.

               BASIS TO RETAIN LUGENBUHL AS SPECIAL COUNSEL

A.      Burns’s Qualifications

        9.     Burns represents a wide array of constituencies in insurance related matters,

including general liability insurance, directors’ and officers’ insurance, professional liability

insurance, fiduciary liability insurance, cyber insurance, property insurance, and crime and

fidelity insurance. Burns also has experience serving as counsel for corporations, as well as

counsel to individual plaintiffs in insurance and liability disputes. Importantly, Burns represents

insured parties and not insurance companies.

        10.    Burns has vast experience in complex insurance disputes and contested issues,

including coverage litigation, insurance class actions, counterparty disputes with insurers, and

domestic and international insurance arbitration.          Additionally, Burns also has extensive

experience advising and working in concert with other attorneys to navigate discrete insurance

issues in the context of complex litigation proceedings.




                                                3
10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 4 of 13




B.      The Engagement

        11.      The Committee has engaged Burns on the terms and conditions set forth in the

Engagement Letter. Accordingly, Burns has or will perform the following services2 on the

Committee’s behalf, including but not limited to:

                 (a)      Providing guidance and counsel to the Committee in connection with
                          insurance matters in the Debtor’s bankruptcy case; and

                 (b)      Any and all other additional matters as may be directed and agreed in
                          writing between the Committee and Burns.

C.      PROPOSED COMPENSATION

        12.      Under the Engagement Letter, Burns will be retained on an hourly basis and will

issue monthly invoices for all fees and reasonable expenses incurred in the prior month, which

will be billed hourly in 1/10th hour increments at the following agreed hourly rates:

                    Professional                                              Hourly Rate
             Timothy W. Burns (TWB)                                             $872.00
              Jeff James Bowen (JJB)                                            $616.00
              Freya K. Bowen (FKB)                                              $600.00
                  Jesse J. Bair (JB)                                            $500.00
               Paralegals and Clerks                                            $300.00

        13.      Other than as set forth above and in the Burns Declaration, no arrangement is

proposed between the Committee, on the one hand, and Burns, on the other hand, for

compensation to be paid in these Chapter 11 Cases.

        14.      Burns has further informed the Committee that except for sharing arrangements

among Burns and its respective shareholders, it has no agreement with any other entity to share

any compensation received, nor will any be made, except as permitted under section 504(b)(1) of

the Bankruptcy Code.



2
 This description is a summary of services provided by Burns. If any inconsistency exists between this description
and the terms of the Engagement Letter, the Engagement Letter controls.


                                                        4
10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 5 of 13




D.      No Adverse Interest

        15.    Bankruptcy Code section 1103(b) does not require that Burns be a “disinterested

person” under Bankruptcy Code section 101(14), but only that Burns not hold any interests

adverse to the Committee or its members with respect to the matters for which Burns is to be

employed.

        16.    To the best of the Committee’s knowledge, and as set forth in the accompanying

Burns Declaration, the partners of Burns do not hold or represent any interest adverse to the

Committee or its members with respect to the matters for which Burns will be retained.

                         AUTHORITY FOR RELIEF REQUESTED

        17.    The Committee seeks to retain Burns pursuant to sections 328(a) and 1103(a) of

the Bankruptcy Code. The Committee respectfully submits that the terms of the proposed

engagement of Burns including, without limitation, its fees, should be approved.

        18.    The proposed retention of Burns is appropriate under Bankruptcy Code section

1103(a). Specifically, pursuant to Bankruptcy Code section 1103(a), upon approval of a majority

of the Committee’s members and with the Court’s approval, the Committee may “select and

authorize the employment . . . of one or more attorneys . . . to represent or perform services for

such committee.” 11 U.S.C. § 1103(a).

        19.    Burns’s retention as special counsel is necessary and in the best interest of the

Committee, its members, and the Debtor because accurate interpretation and potential litigation

involving the Debtor’s insurance policies will play a critical role in the outcome of this

bankruptcy case. Burns is well qualified to serve as special counsel in such capacity, given its

experience in the specialized field of insurance litigation. Additionally, since the terms of

Burns’s engagement is limited to representing the Committee in pending insurance matters, there

is no risk of duplication of services with the Committee’s other retained professionals.

                                                 5
10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 6 of 13




        20.    Accordingly, based on the facts and for the reasons stated herein and in the Burns

Declaration, the retention of Burns as special counsel to the Committee pursuant to this

Application is reasonable, necessary and appropriate, and satisfies the requirements of sections

328(a) and 1103(a) of the Bankruptcy Code and Bankruptcy Rule 2014(a).

                                         CONCLUSION

        21.    The Committee respectfully request that the Court enter the proposed order (a)

approving the retention of Burns as special counsel to the Committee pursuant to sections 328(a)

and 1103(a) of the Bankruptcy Code; (b) approving the compensation terms set out above; and

(c) granting such other and further relief as may be just and proper.

        Dated: April 15, 2020

                                              Respectfully submitted,

                                              PORTER HEDGES LLP

                                              /s/ Joshua W. Wolfshohl
                                              Joshua W. Wolfshohl
                                              Aaron J. Power
                                              1000 Main Street, 36th Floor
                                              Houston, Texas 77002
                                              (713) 226-6000
                                              (713) 226-6248 (fax)
                                              jwolfshohl@porterhedges.com
                                              apower@porterhedges.com

                                              PROPOSED COUNSEL FOR THE OFFICIAL
                                              COMMITTEE OF JANUARY 24 CLAIMANTS




                                                 6
10499284v1
        Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 7 of 13




                                CERTIFICATE OF SERVICE

       This will certify that a true and correct copy of the foregoing document was forwarded by
U.S. First Class Mail and via electronic transmission to all registered ECF users appearing in the
case on April 15, 2020.

                                             /s/ Joshua W. Wolfshohl
                                             Joshua W. Wolfshohl




10467375v2
                 Case 20-30967 Document SERVICE
                                        215 FiledLIST
                                                  in TXSB on 04/15/20 Page 8 of 13
ERIN E JONES                       STEPHEN DOUGLAS STATHAM
CHRISTOPHER R MURRAY                                                  ASTRO ALLOYS INC
                                   OFFICE OF US TRUSTEE
JONES MURRAY & BEATTY LLP                                             9155 EMMOTT RD
                                   515 RUSK STE 3516
4119 MONTROSE STE 230                                                 HOUSTON TX 77040
                                   HOUSTON TX 77002
HOUSTON TX 77006

BAKER BOTTS LLP                    C&M TECHNOLOGIES GROUP INC         EARL M JORGENSEN
910 LOUISIAN ST STE 3200           350 NORTH SAINT PAUL ST            6201 LUMERDALE RD
HOUSTON TX 77002                   DALLAS TX 75201                    HOUSTON TX 77092


                                                                      HUNTER CHEMICAL LLC
GULFCO FORGE COMPANY               HALCO METALS
                                                                      220 COMMERCE DR
6817 INDUSTRIAL RD                 9611 TELGE RD
                                                                      STE 200
HOUSTON TX 77005                   HOUSTON TX 77095
                                                                      FORT WASHINGTON PA 19034


LINEAGE ALLOYS                     MATHESON TRI-GAS                   NORTH AMERICAN HOGANAS CO
1901 ELLIS SCHOOL RD               166 KEYSTONE DR                    111 HOGANAS WA
BAYTOWN TX 77521                   MONTGOMERYVILLE PA 18936           HOLLSOPPLE PA 15935



NORTON ROSE FULBRIGHT              PARRISH INTERNATIONAL INC          SCOTT STAINLESS SPECIALITIES
1301 MCKINNEY ST STE 1500          PO BOX 468                         501 GEORGIA AVENUE
HOUSTON TX 77010                   HEMPSTEAD TX 77445                 SOUTH HOUSTON TX 77587


                                   THYSSENKRUPP
TECHNICAL ENGINEERING LLC                                             TRICOR METALS
                                   ATTN: GENERAL COUNSEL
100 CHAPEL RD                                                         3517 N LOOP 336 W
                                   111 W JACKSON BLVD
MANCHESTER CT 6042                                                    CONROE TX 77304
                                   CHICAGO IL 60604

                                                                      WEBB INDUSTRIAL LLC
VICTORY METALS                     VINATECH ENGINEERING
                                                                      2433 LOFTON TERRACE
4125 HOLLISTER RD                  7747 FORMULA PLACE
                                                                      FORT WORTH TX 76109
HOUSTON TX 77080                   SAN DIEGO CA 92121


                                   TEXAS CAPITAL BANK                 INTERNAL REVENUE SERVICE
WATSON VALVE SERVICES INC
                                   C/O TIMOTHY MILLION                CENTRALIZED INSOLVENCY
4525 GESSNER RD
                                   600 TRAVIS ST                      OPERATION
HOUSTON TX 77041
                                   HOUSTON TX 77002                   PO BOX 7346
                                                                      P
INTERNAL REVENUE SERVICE           RICHARD A KINCHELOE                ABIGAIL RUSHING RYAN AAG
300 E 8TH ST                       ASSISTANT UNITED STATES ATTORNEY   OFFICE OF THE AG OF TEXAS
MAIL STOP 5026AUS                  SOUTHERN DISTRICT OF TEXAS         BANKRUPTCY & COLLECTIONS DIV
AUSTIN TX 78701                    1000 LOUISIANA ST STE 2300         PO BOX 12548-MC 008
                                   HOUSTON TX 77002                   AUSTIN TX 78711-2548
JASON B BINFORD                    TIMOTHY A MILLION
OFFICE OF THE AG OF TEXAS                                             J SCOTT DOUGLASS
                                   HUSCH BLACKWELL LLP
BANKRUPTCY & COLLECTIONS DIV                                          1811 BERING DR STE 420
                                   600 TRAVIS ST STE 2350
P O BOX 12548-MC 008                                                  HOUSTON TEXAS 77057
                                   HOUSTON TEXAS 77002
AUSTIN TEXAS 78711-2548
                Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 9 of 13
MUHAMMAD AZIZ                     HENRY FLORES                     KENNETH M KROCK
ABRAHAM WATKINS NICHOLS           RAPP & KROCK PC                  RAPP & KROCK PC
SORRELS AGOSTO AZIZ & STOGNER     1980 POST OAK BLVD STE 1200      1980 POST OAK BLVD STE 1200
800 COMMERCE ST                   HOUSTON TEXAS 77056              HOUSTON TEXAS 77056
HOUSTON TEXAS 77002
JOHN P DILLMAN                    JARROD B MARTIN                  KATE H EASTERLING
LINEBARGER GOGGAN BLAIR &         MCDOWELL HETHERINGTON LLP        MCDOWELL HETHERINGTON LLP
SAMPSON LLP                       1001 FANNIN STE 2700             1001 FANNIN STE 2700
PO BOX 3064                       HOUSTON TX 77002                 HOUSTON TX 77002
HOUSTON TX 77253-3064
                                                                   HOLLAND N O’NEIL
AVISHAY MOSHENBERG                ERIKA L MORABITO
                                                                   FOLEY & LARDNER LLP
MCDOWELL HETHERINGTON LLP         FOLEY & LARDNER LLP
                                                                   2021 MCKINNEY AVENUE STE 1600
1001 FANNIN STE 2700              3000 K ST NW STE 600
                                                                   DALLAS TX 75201
HOUSTON TX 7700                   WASHINGTON DC 20007

RANDALL J POELMA JR               WILLIAM T SEBESTA                BRUCE J RUZINSKY
DOYEN SEBESTA & POELMA LLLP       DOYEN SEBESTA & POELMA LLLP      JACKSON WALKER LLP
450 GEARS RD STE 350              450 GEARS RD STE 350             1401 MCKINNEY ST STE 1900
HOUSTON TX 77067                  HOUSTON TX 77067                 HOUSTON TX 77010


                                                                   TAYLOR R ROMERO
ELIZABETH C FREEMAN               RYAN E CHAPPLE
                                                                   CAIRN & SKARNULIS PLLC
JACKSON WALKER LLP                CAIRN & SKARNULIS PLLC
                                                                   400 W 15TH ST STE 900
1401 MCKINNEY ST STE 1900         400 W 15TH ST STE 900
                                                                   AUSTIN TX 78701
HOUSTON TX 77010                  AUSTIN TX 78701

                                  ABIGAIL RUSHING RYAN AAG         JASON B BINFORD
RANDY W WILLIAMS                                                   OFFICE OF THE AG OF TEXAS
                                  OFFICE OF THE AG OF TEXAS
BYMAN & ASSOCIATES PLLC                                            BANKRUPTCY & COLLECTIONS DIV
                                  BANKRUPTCY & COLLECTIONS DIV
7924 BRDWAY STE 104                                                P O BOX 12548-MC 008
                                  PO BOX 12548-MC 008
PEARLAND TX 775                                                    AUSTIN TEXAS 78711-2548
                                  AUSTIN TX 78711-2548
                                                                   ANNA DEAN KAMINS
L LEE THWEATT
                                  JOSEPH D TERRY                   KAMINS LAW FIRM PLLC
ONE GREENWAY PLAZA STE 100
                                  ONE GREENWAY PLAZA STE 100       2925 RICHMOND AVENUE STE 1200
HOUSTON TX 77046-0102
                                  HOUSTON TX 77046-0102            HOUSTON TX 77098

                                                                   JUAN A SOLIS
STEPHEN R WALKER                  GREGORY J FINNEY
                                                                   LAW OFFICES OF MANUEL SOLIS PC
LAW OFFICES OF MANUEL SOLIS PC    LAW OFFICES OF MANUEL SOLIS PC
                                                                   6657 NAVIGATION BLVD
6657 NAVIGATION BLVD              6657 NAVIGATION BLVD
                                                                   HOUSTON TX 77011
HOUSTON TX 77011                  HOUSTON TX 77011

                                                                   MATTHEW O GREENBERG
BYRON C ALFRED                    RYAN H ZEHL
                                                                   ZEHL & ASSOCIATES PC
2019 WICHITA ST                   ZEHL & ASSOCIATES PC
                                                                   2700 POST OAK BLVD STE 1000
HOUSTON TX 77004                  2700 POST OAK BLVD STE 1000
                                                                   HOUSTON TX 77056
                                  HOUSTON TX 77056

                                  GREGORY F COX                    MICHAEL DOWNEY
MATT L MARTIN
                                  MOSTYLN LAW                      MOSTYLN LAW
ZEHL & ASSOCIATES PC
                                  3810 WEST ALABAMA ST             3810 WEST ALABAMA ST
2700 POST OAK BLVD STE 1000
                                  HOUSTON TX 77027                 HOUSTON TX 77027
HOUSTON TX 77056
               Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 10 of 13

CATHRYN J SCHEXNAIDER                                                 MATHEW MENDOZA
                                   CHANCE A MCMILLAN
MOSTYLN LAW                                                           MCMILLAN FIRM PLLC
                                   MCMILLAN FIRM PLLC
3810 WEST ALABAMA ST                                                  440 LOUISIANA ST STE 1200
                                   440 LOUISIANA ST STE 1200
HOUSTON TX 77027                                                      HOUSTON TX 77002-1691
                                   HOUSTON TX 77002-1691

ANTHONY G BUZBEE                   CHRISTOPHER J LEAVITT              RYAN S PIGG
JP MORGAN CHASE TOWER              JP MORGAN CHASE TOWER              JP MORGAN CHASE TOWER
600 TRAVIS ST STE 7300             600 TRAVIS ST STE 7300             600 TRAVIS ST STE 7300
HOUSTON TX 77002                   HOUSTON TX 77002                   HOUSTON TX 77002


MUHAMMAD S AZIZ                    KARL P LONG
                                                                      BILAAL BADAT
800 COMMERCE ST                    800 COMMERCE ST
                                                                      4151 SOUTHWEST FWY STE 320
HOUSTON TX 77002                   HOUSTON TX 77002
                                                                      HOUSTON TX 77027

MARTY HERRING                                                         MICHAEL TATE BARKLEY
                                   CAMERON R TEBO
MARTY HERRING & ASSOCIATES                                            BAIN & BARKLEY
                                   MARTY HERRING & ASSOCIATES
1616 S VOSS RD STE 890                                                14090 SOUTHWEST FWY STE 450
                                   1616 S VOSS RD STE 890
HOUSTON TX 77057                                                      SUGAR LAND TX 77478
                                   HOUSTON TX 77057

KARL R SCHNEIDER                   BRETT ANTHONY                      ADAM ANTHONY
BAIN & BARKLEY                     ANTHONY PETERSON LLP               ANTHONY PETERSON LLP
14090 SOUTHWEST FWY STE 450        500 NORTH WATER ST STE 1000        500 NORTH WATER ST STE 1000
SUGAR LAND TX 77478                CORPUS CHRISTI TX 78401            CORPUS CHRISTI TX 78401

                                                                      VINCE RYAN
DONALD PETERSON                    RUBEN BONILLA JR                   HARRIS COUNTY ATTORNEY
ANTHONY PETERSON LLP               BONILLA & CHAPPA PC                ENVIRONMENTAL GROUP
500 NORTH WATER ST STE 1000        2600 GESSNER RD STE 136            1019 CONGRESS 15TH
CORPUS CHRISTI TX 78401            HOUSTON TX 77080                   FLOOR
SARAH JANE UTLEY                   KATHY PORTER                       HOUSTON TX 77002
HARRIS COUNTY ATTORNEY             AIR COMPLIANCE COORDINATOR         ROBERT S KWOK
ENVIRONMENTAL GROUP                HARRIS COUNTY POLLUTION            9805 KATY FWY STE 850
1019 CONGRESS 15TH FLOOR           CONTROL SVCS DEPT                  HOUSTON TX 77024
                                   101 SOUTH RICHEY STE H
HOUSTON TX 77002
                                   PASADENA TX 77506
                                   JOSHUA R LEAL
                                                                      ALEX P BOYLHART
J RYAN LOYA                        9805 KATY FWY STE 850
                                                                      9805 KATY FWY STE 850
9805 KATY FWY STE 850              HOUSTON TX 77024
                                                                      HOUSTON TX 77024
HOUSTON TX 77024

                                                                      JAMIL THOMAS
WILLIAM W HOKE (OF COUNSEL)        HUSEIN HADI
                                                                      SEDRICK STAGG
9805 KATY FWY STE 850              SEDRICK STAGG
                                                                      7100 REGENCY SQUARE BLVD STE 140
HOUSTON TX 77024                   7100 REGENCY SQUARE BLVD STE 140
                                                                      HOUSTON TX 77036
                                   HOUSTON TX 77036

CARNEGIE H MIMS III                                                   JOEL C SIMON
SEDRICK STAGG                      ERIC DICK LLM                      FERNELIUS SIMON MACE
                                                                      ROBERTSON PERDUE PLLC
7100 REGENCY SQUARE BLVD STE 140   3701 BROOKWOODS DR
                                                                      4119 MONTROSE BLVD STE 500
HOUSTON TX 77036                   HOUSTON TX 77092
                                                                      HOUSTON TX 77006
                Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 11 of 13
                                   RYAN M PERDUE                    DEREK H POTTS
STEPHEN M FERNELIUS
                                   FERNELIUS SIMON MACE             POTTS LAW FIRM
FERNELIUS SIMON MACE
                                   ROBERTSON PERDUE PLLC
ROBERTSON PERDUE PLLC                                               3737 BUFFALO SPEEDWAY STE 1900
                                   4119 MONTROSE BLVD STE 500
4119 MONTROSE BLVD STE 500                                          HOUSTON TX 77098
                                   HOUSTON TX 77006
HOUSTON TX 77006

POTTS LAW FIRM                     MICHAEL J BINS                   RILEY L BURNETT JR
3737 BUFFALO SPEEDWAY STE 1900     POTTS LAW FIRM                   BURNETT LAW FIRM
HOUSTON TX 77098                   3737 BUFFALO SPEEDWAY STE 1900   3737 BUFFALO SPEEDWAY STE 1850
                                   HOUSTON TX 77098                 HOUSTON TX 77098


PEGAH RAHGOZAR                     LESTER B NICHOLS III             KURT B ARNOLD
2825 WILCREST DR STE 515           2825 WILCREST DR STE 515         ARNOLD & ITKIN LLP
HOUSTON TX 77045                   HOUSTON TX 77045                 6009 MEMORIAL DR
                                                                    HOUSTON TX 77007

JASON A ITKIN                      J KYLE FINDLEY                   KALA F SELLERS
ARNOLD & ITKIN LLP                 ARNOLD & ITKIN LLP               ARNOLD & ITKIN LLP
6009 MEMORIAL DR                   6009 MEMORIAL DR                 6009 MEMORIAL DR
HOUSTON TX 77007                   HOUSTON TX 77007                 HOUSTON TX 77007

ADAM D LEWIS
                                   CHRISTOPHER L BELL               GREGORY F COX
ARNOLD & ITKIN LLP
                                   GREENBERG TRAURIG LLP            MOSTYN LAW
6009 MEMORIAL DR
                                   1000 LOUISIANA ST STE 1700       3810 WEST ALABAMA ST
HOUSTON TX 77007
                                   HOUSTON TX 77002                 HOUSTON TX 77027

MICHAEL A DOWNEY                   CAROLINE L MAIDA                 MARY-OLGA LOVETT
MOSTYN LAW                         MOSTYN LAW                       GREENBERG TRAURIG LLP
3810 WEST ALABAMA ST               3810 WEST ALABAMA ST             1000 LOUISIANA ST STE 1700
HOUSTON TX 77027                   HOUSTON TX 77027                 HOUSTON TX 77002

PAUL B KERLIN                      CHRISTOPHER M LAVIGNE            KARL D BURRER
GREENBERG TRAURIG LLP              GREENBERG TRAURIG LLP            GREENBERG TRAURIG LLP
1000 LOUISIANA ST STE 1700         2200 ROSS AVE STE 5200           1000 LOUISIANA ST STE 1700
HOUSTON TX 77002                   DALLAS TX 75201                  HOUSTON TX 77002

JAMES R JONES                      JOHN V MCCOY
                                   MCCOY LEAVITT & LASKEY           ANA M ENE
4185 TECHNOLOGY FOREST BLVD
                                   N19 W242000 RIVERWOOD DR         CLARK LOVE & HUTSON PLLC
STE 160
                                   STE 125                          440 LOUISIANA STE 1700
THE WOODLANDS TX 77381             WAUKESHA WI 53188                HOUSTON TX 77002

MATHESON TRI-GAS INC               AUTOMATION PLUS
                                                                    ADAM D PEAVY
ATTN: GENERAL COUNSEL              ATTN: FRANK LOMELO
                                                                    CLARK LOVE & HUTSON PLLC
150 ALLEN RD - STE 302             8930 LAWNDALE ST STE F
                                                                    440 LOUISIANA STE 1700
BASKING RIDGE NJ 07920             HOUSTON TX 77012
                                                                    HOUSTON TX 77002

KEVIN M MADDEN                     MARK W MORAN                     ARC SPECIALTIES INC
LAW OFFICES OF KEVIN M MADDEN      MUNCK WILSON MANDALA LLP         ATTN: L DON KNIGHT
5225 KATY FWY STE 520              12770 COIT RD STE 600            8100 WASHINGTON STE 1000
HOUSTON TX 77007                   DALLAS TX 75251                  HOUSTON TX 77007
                Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 12 of 13
                                   CENTERPOINT ENERGY SERVICE          CENTERPOINT ENERGY SERVICES
ARC SPECIALTIES INC                COMPANY LCC                         INC
                                   ATTN: GENERAL COUNSEL               ATTN: GENERAL COUNSEL
1730 STEBBINS DR
                                   1111 LOUISIANA ST 39TH FLOOR        1111 LOUISIANA ST
HOUSTON TX 7704                    HOUSTON TX 77002                    39TH FLOOR
                                                                       HOUSTON TX 77002
CENTERPOINT ENERGY RESOURCES
                                   CENTERPOINT ENERGY GAS
CORP                                                                   STM & ASSOCIATES
                                   SERVICES INC – NATURAL GAS
ATTN: GENERAL COUNSEL
                                   ATTN: GENERAL COUNSEL               8554 KATY FWY STE 112
1111 LOUISIANA ST 39TH FLOOR
                                   1111 LOUISIANA ST 39TH FLOOR        HOUSTON TX 77024
HOUSTON TX 77002
                                   HOUSTON TX 77002

3M                                 DETCON
                                                                       DETCON
3M CORPORATE HEADQUARTERS          3M CENTER BLDG 224-5N40
                                                                       3200 RESEARCH FOREST DR
2501 HUDSON RD                     SAINT PAUL MN 55144-1001
                                                                       THE WOODLANDS TX 77381-4219
MAPLEWOOD MN 55144

DETCON                                                                 FIRESTONE CRYOGENIC EQUIPMENT
                                   FIRESTONE CRYOGENIC EQUIPMENT
4055 TECHNOLOGY FOREST BLVD                                            ATTN: LINDA PLUMMER
                                   14954 EAST DR
THE WOODLANDS TX 77381                                                 12446 CUTTEN RD
                                   CONROE TX 77302-6600
                                                                       HOUSTON TX 77066

RADNOR                             OLDHAM A/K/A TELEDYNE GAS & FLAME   WESTERN INTERNATIONAL GAS &
AIRGAS INC                         AMERICAS – THE WOODLANDS            CYLINDER INC
259 NORTH RADNOR-CHESTER RD        DETCON INC                          ATTN: DENISE C HAUGEN
STE 100                            4055 TECHNOLOGY FOREST BLVD         7173 HIGHWAY 159 E PO BOX 668
RADNOR PA 19087-5283               THE WOODLANDS TX 77381              BELLVILLE TX 77418

MILLER SCAMARDI AND CARRABA        ASTRO ALLOYS                        NATIONAL ALLOY SOLUTIONS
                                                                       C/O GONZALEZ & ASSOCIATES
ATTN: DAVID MILLER                 ATTN: KEN WHITED
                                                                       ATTN: EDWARD GONZALEZ
6525 WASHINGTON AVE                9155 EMMOTT RD
                                                                       2205 FULTON ST
HOUSTON TEXAS 77007                HOUSTON TX 77040                    HOUSTON TX 77009

KENNAMETAL INC
                                                                       VERTECS
ATTN: MICHELLE R KEATING           TECHNICAL ENGINEERING LLC
                                                                       8402 RAYSON RD
525 WILLIAM PENN PLACE STE 3300    100 CHAPEL RD
                                                                       HOUSTON TX 77080
PITTSBURGH PA 15219                MANCHESTER CT 06042

ABB
13609 INDUSTRIAL RD GATE 5
COMPLEX 3G WEST
HOUSTON TX 77015
Case 20-30967 Document 215 Filed in TXSB on 04/15/20 Page 13 of 13
